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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    DARIUS TREVOR KNIGHT,                       Case No. EDCV 21-860-ODW (KK)
 11                              Petitioner,
 12                        v.                      JUDGMENT
 13    DAVID HOLBROOK,
 14                              Respondent.
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 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge,
 19         IT IS HEREBY ADJUDGED that the Petition is DISMISSED with prejudice.
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 21   Dated: October 5, 2021
                                               HONORABLE OTIS D. WRIGHT, II
 22                                            United States District Judge
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